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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
              Plaintiff,
                                                    CASE NO: 4:18CR3125
      vs.

DANIEL ESPINOZA GARCIA,                              DETENTION ORDER
              Defendant.



      On the government's motion, the court afforded the defendant an
opportunity for a detention hearing under the Bail Reform Act, 18 U.S.C. §
3142(f). The court concludes the defendant must be detained pending trial.

      There is a rebuttable presumption that no condition or combination of
conditions of release will reasonably assure the defendant’s appearance at court
proceedings and the safety of the community because there is probable cause to
believe the defendant committed a drug crime under the Controlled Substances
Act (21 U.S.C. § 801 et seq.), for which the defendant could be required to serve
ten or more years in prison. The defendant has not rebutted the presumption of
detention.

      Based on the information of record, the court finds by a preponderance of
the evidence that the defendant's release would pose a risk of nonappearance at
court proceedings, and by clear and convincing evidence that the defendant's
release would pose a risk of harm to the public.

      Specifically, the court finds that the defendant has a criminal history of
violating the law and court orders; has a history of harming or threatening harm
to others; abuses mood-altering chemicals and is likely to continue such conduct
and violate the law if released; is not a United States citizen, is subject to an ICE
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detainer, and faces deportation; has limited employment contacts; presented no
evidence opposing the presumption of detention; and conditions which restrict
Defendant’s travel, personal contacts, and possession of drugs, alcohol, and/or
firearms; require reporting, education, employment, or treatment; or monitor
Defendant’s movements or conduct; or any combination of these conditions or
others currently proposed or available (see 18 U.S.C. § 3142(c)), will not
sufficiently ameliorate the risks posed if the defendant is released.

                          Directions Regarding Detention

      The defendant is committed to the custody of the Attorney General or a
designated representative for confinement in a corrections facility separate, to
the extent practicable, from persons awaiting or serving sentences or held in
custody pending appeal. The defendant must be afforded a reasonable
opportunity to consult privately with defense counsel. On order of the United
States Court or on request of an attorney for the Government, the person in
charge of the corrections facility must deliver the defendant to the United States
marshal for a court appearance.

      Dated September 21, 2018.

                                             BY THE COURT:

                                             s/ Cheryl R. Zwart
                                             United States Magistrate Judge
